                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MONTANA


 In re

 MONTANA TUNNELS MINING, INC.,                             Case No. 2:22-bk-20132-BPH

                                 Debtor.


                                             ORDER
       In this Chapter 11 bankruptcy, Debtor filed an Amended Chapter 11 Plan at ECF No. 64
(“Plan”) and an Amended Disclosure Statement on August 9, 2023, at ECF No. 65. Creditor
Montana Department of Environmental Quality (“Creditor”) filed “Objections to Debtor’s
Amended Disclosure Statement” on August 22, 2023, at ECF No. 67 (“Objections”). A hearing
was held on the matter on August 29, 2023.

       At the hearing, counsel for Debtor and Creditor agreed that the Objections were largely
centered around Plan feasibility concerns and could be addressed at any future confirmation
hearing. Counsel for Debtor further indicated that the Office of the United States Trustee had
contacted Debtor regarding concerns it had over the calculation of certain payments under
Debtor’s Plan. As a result of these discussions, Debtor acknowledged the Amended Disclosure
Statement and Plan would need to be revised. Accordingly,

       IT IS ORDERED that, based on the statements of counsel, Debtor’s Amended Disclosure
Statement is approved, subject to the additional changes discussed between Debtor and the U.S.
Trustee. Debtor shall file a Second Amended Disclosure Statement and Second Amended Plan
with these changes on or before September 1, 2023.

        IT IS FURTHER ORDERED that the U.S. Trustee shall review Debtor’s Second
Amended Disclosure Statement and Second Amended Plan and file a Consent on September 5,
2023, if the Second Amended Disclosure Statement and Second Amended Plan satisfy the
concerns it raised with Debtor.

         IT IS FURTHER ORDERED that, upon the filing of the U.S. Trustee’s Consent, Debtor
shall:

    1. Transmit a copy of this Order, Debtor’s Second Amended Chapter 11 Plan (“Amended
       Plan”), the Second Disclosure Statement, and a ballot form for voting on acceptances or
       rejections of the Amended Plan generally conforming with Official Form 314 on all
       creditors, equity security holders, the United States Trustee, and other parties in interest
       as provided in Fed. R. Bankr. P. 3017(d).



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2. A hearing on confirmation of Debtor’s Amended Plan shall be held on Wednesday,
   October 4th, 2023, at 09:00 a.m., or as soon thereafter as the parties can be heard, in the
   2ND FLOOR COURTROOM, FEDERAL BUILDING, 400 N. MAIN, BUTTE,
   MONTANA.

3. Pursuant to Fed. R. Bankr. P. 3020(b)(1), September 27, 2023, is fixed as the last day for
   filing and serving written objections to confirmation of Debtor’s Amended Plan and for
   filing written acceptances or rejections (by completing the ballot) of the Amended Plan.
   Objections, if any, shall be served on the Debtor, the U.S. Trustee, the proponent of the
   plan if the proponent is not the debtor, and any committee appointed under the Code.

4. Pursuant to Fed. R. Bankr. P. 3020(b)(2), if no objections are timely filed, the court may
   determine that the Plan has been proposed in good faith and not by any means forbidden
   by law without receiving evidence on such issues.

   Dated August 29, 2023.




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